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     Deft.Failedto AppearrW arrantto be lssued -Bond Forfeited.- - Sentencing cont'b until

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Assessment$1o()t
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      DataEncryption       Permissible ComputerExnm ination       ComputerM odem Restriction
     ComputerPossession Restricsion       EmployerComputerRestriction Disclosttre
     N o Contactwith M inors      N o Contactwith M inorsin Em ploym ent Sex OffenderTreatm ent
     N o lnvolvementYouth Organization       Sex OffenderRegistration      Adnm W alsh ActSearch
     OffenseRelated ComputerRestriction
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     Perm issible ComputerExnmination       PermissibleNationalBusinessTravel        No New Debt
     AngerControlr om esticViolence         Comm tmity Service       Related Concern Restriction
 A MentalHealthTreatment 1* SubstanceAbuseTreatment                                        RelatedConcernRestriction
         EmploymentRequirement                    CooperâtingFRS                  AssociationRestriction .
                                                                                                         bf Forfeiture
         Self-Em plom entRestriction                    Com puter A ctivity Record K eeping R equirem ent
         Disclosure ofTelephoneRecords                  EmploymentSolicitation Restriction                FinancialDisclosure
         Location M onitoring Progrnm    Relinquishm entofLicenstlre      ResidentialReentry Center
         SurrenderforRem ovalAfterImpïisonm ent     Cooperating Immigration Rem ovalProceedings
         TreatmentforGnmblingX UnpaidRestitution,fines,specialassessmentsY PermissibleSearch
         j/     RemandedtotheCustodyofthe                                  CUSTODY
                                                    U .S.M arshalService                    Release on bondpending appeal

                Voluntary Surrenderto(designatedinstitutionorU.S.M arshal Service)on                        / /
CommitmentRecommendation:                                                             ,
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